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 1                                IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF PUERTO RICO
 2
 3        UNITED STATES OF AMERICA,
 4
          Plaintiff,
 5
          v.
 6                                                                    CRIMINAL:13-124 (CCC)
          [29] XAVIER O. MALDONADO-NEGRONI,
 7
 8        Defendant.

 9
10                       MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION
                             RE: RULE 11 PROCEEDINGS (PLEA OF GUILTY)
11
12   I.        Procedural Background
13             On March 1, 2013, a grand jury returned a indictment against [29] Xavier O. Maldonado-Negroni
14   (hereinafter referred to as “defendant”) and other individuals. ECF No. 3. The defendant has agreed to

15   plead guilty to count one of the indictment. Count one charges that beginning on a date unknown, but no

16   later than in or about the year 2005, and continuing up to and until the return of the indictment, in the

17   Municipality of San Juan and other areas nearby, in the District of Puerto Rico and elsewhere within the

18   jurisdiction of this court, Xavier O. Maldonado-Negroni and other persons did knowingly and intentionally,
     combine, conspire, and agree with each other and with diverse other persons known and unknown to the
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     grand jury, to commit an offense against the United States, that is, to knowingly and intentionally possess
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     with intent to distribute and distribute controlled substances, to wit: of two-hundred and eighty (280) grams
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     or more of cocaine base (crack), a Schedule II Narcotic Drug Controlled Substance; one (1) kilogram or
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     more of heroin, a Schedule I, Narcotic Drug Controlled Substance; (5) kilograms or more of cocaine, a
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     Schedule II, Narcotic Drug Controlled Substance; one hundred (100) kilograms or more of marijuana, a
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     Schedule I, Controlled Substance; a mixture or substance containing detectable amounts of Oxycodone
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     (commonly known as Percocet), a Schedule II Controlled Substance; and a mixture or substance containing
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     detectable amounts of Alprazolam (commonly known as Xanax), a Schedule IV Controlled Substance
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     within one thousand (1,000) feet of the real property comprising the Los Peña Public Housing Project a
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 1                                                         2
 2   housing facility owned by a public housing authority, and other areas nearby and within the Municipality
 3   of San Juan, Puerto Rico, all in violation of Title 21, United States Code sections 841(a)(1), 846, and 860.
 4   II.      Consent to Proceed Before a Magistrate Judge
 5            On November 8, 2013, while assisted by counsel, the defendant, by consent, appeared before the
 6   undersigned in order to change his previous not guilty plea to a plea of guilty as to count one of the

 7   indictment. In open court the defendant was questioned as to the purpose of the hearing being held and was

 8   advised of: (a) the nature and purpose of the hearing; (b) the fact that all inquiries were to be conducted

 9   under oath and that it was expected that his answers would be truthful; (c) the potential consequences of

10   lying under oath (such as a perjury charge); and (d) his right to have the change of plea proceedings
     presided by a district judge instead of a magistrate judge. The defendant was also explained the differences
11
     between the appointment and functions of the two. The defendant consented to proceed before the
12
     undersigned magistrate judge.
13
     III.     Proceedings Under Rule 11, Federal Rules of Criminal Procedure
14
              A.      Rule 11(c)(1) Requirements
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                      Rule 11 of the Federal Rules of Criminal Procedure governs the acceptance of guilty
16            pleas to federal criminal violations. Pursuant to Rule 11, in order for a plea of guilty to
              constitute a valid waiver of the defendant’s right to trial, guilty pleas must be knowing and
17            voluntary: “Rule 11 was intended to ensure that a defendant who pleads guilty does so with
              an ‘understanding of the nature of the charge and consequences of his plea.’” United States
18            v. Cotal-Crespo, 47 F.3d 1, 4 (1st Cir. 1995) (quoting McCarthy v. United States, 394 U.S.
              459, 467 (1969)). [There are three core concerns in these proceedings]: 1) absence of
19            coercion; 2) understanding of the charges; and 3) knowledge of the consequences of the
              guilty plea. United States v. Cotal-Crespo, 47 F.3d at 4 (citing United States v. Allard, 926
20            F.2d 1237, 1244-45 (1st Cir. 1991)). United States v. Hernández-Wilson, 186 F.3d 1, 5 (1st
              Cir. 1999).
21
              B. Admonishment of Constitutional Rights
22            To assure defendant’s understanding and awareness of his rights, defendant was advised of his right:
23            1.   To remain silent at trial and be presumed innocent, since it is the government who has the
24   burden of proving his guilt beyond a reasonable doubt.
25            2.   To testify or not to testify at trial, and that no adverse inference could be made in relation to
26   his decision not to testify.
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 2           3.   To a speedy trial before a district judge and a jury, at which he would be entitled to see and
 3   cross examine the government witnesses, present evidence on his behalf, and challenge the government’s
 4   evidence.
 5           4.   To have a unanimous verdict rendered by a jury of twelve persons which would have to be
 6   convinced of defendant’s guilt beyond a reasonable doubt by means of admissible evidence.

 7           5.   To use the subpoena power of the court to compel the attendance of witnesses.

 8           Upon listening to the defendant’s responses, observing his demeanor and his speaking with his

 9   attorney, that to the best of counsel’s belief defendant had fully understood his rights, it is determined that

10   defendant is aware of his constitutional rights.
             C. Consequences of Pleading Guilty
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             Upon advising defendant of his constitutional rights, he was further advised of the consequences
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     of pleading guilty. Specifically, defendant was advised that by pleading guilty and upon having his guilty
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     plea accepted by the court, he will be giving up the above rights and will be convicted solely on his
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     statement that he is guilty.
15
             Furthermore, the defendant was admonished of the fact that by pleading guilty he would not be
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     allowed later on to withdraw his plea because he eventually might disagree with the sentence imposed, and
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     that if he violates the conditions of supervised release, that privilege could be revoked and he could be
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     required to serve an additional term of imprisonment. He was also explained that parole has been
19
     abolished.
20
             In response to further questioning, defendant was explained and he understood that if convicted on
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     count one as charged he will face the following penalties: a term of imprisonment which shall not be less
22   than ten (10) years and up to two (2) terms of life, a fine not to exceed $20,000,000.00, and a term of
23   supervised release of at least ten (10) years. However, if the court accepts the defendant’s guilty plea and
24   if the court accepts the amount of narcotics stipulated by the parties in the plea agreement, that is at least
25   five hundred (500) grams but less than two (2) kilograms of cocaine, the penalties for the offense shall be
26   the following: a term of imprisonment of not less than five (5) years and not more than eighty (80) years,
27   a fine not to exceed $10,000,000.00, and a term of supervised release of at least eight (8) years.
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 2             Defendant was also made aware that the court must impose a mandatory penalty assessment of
 3   one hundred dollars ($100) per offense pursuant Title 18, United States Code, Section 3013(a).
 4             The defendant was advised that the ultimate sentence was a matter solely for the court to decide
 5   in its discretion and that, even if the maximum imprisonment term and fine were to be imposed upon
 6   him, he later could not withdraw his guilty plea for that reason alone. The defendant understood this.

 7             The defendant acknowledged that at this stage no guarantees or promises as to the sentence to

 8   be imposed had been made to him. The defendant was also explained what the supervised release term

 9   means and was urged to cooperate with the United States Probation Office.

10             D. Plea Agreement1
               The parties have entered into a written plea agreement that, upon being signed by the government,
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     defense attorney and defendant, was filed and made part of the record. Defendant was clearly warned and
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     recognized having understood that:
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               1.   The plea agreement is not binding upon the sentencing court.
14
               2.   The plea agreement is an agreement between the defendant, defense counsel and the attorney
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     for the government which is presented as a recommendation to the court in regards to the applicable
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     sentencing adjustments and guidelines, which are advisory.
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               3.   The agreement provides a sentencing recommendation and/or anticipated sentencing guideline
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     computation, that can be either accepted or rejected by the sentencing court.
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               4.   In spite of the plea agreement and any sentencing recommendation contained therein, the
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     sentencing court retains full discretion to reject such plea agreement and impose any sentence up to the
21
     maximum possible penalty prescribed by statute.
22             Defendant acknowledged having understood this explanation.
23             E. Government's Evidence (Basis in Fact)
24             The government presented a proffer of its evidence consistent with the version of facts of the plea
25   agreement with which the defendant concurred. Accordingly, it is determined that there is a basis in fact
26   and evidence to establish all the elements of the offense charged.
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28         1
                     “Plea agreement” refers to the agreement and its supplement.
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 1                                                        5
 2            F. Voluntariness
 3            The defendant accepted that no threats had been made to induce him to plead guilty and that he did
 4   not feel pressured to plead guilty.
 5            G. Waiver of Appeal
 6            The defendant was explained, and he understood, that if the court accepts the plea agreement and

 7   sentences him according to its terms, conditions and recommendations, he will be surrendering his right

 8   to appeal the sentence and judgment in this case.

 9   IV.      Conclusion

10            The defendant, by consent, has appeared before me pursuant to Rule 11, Federal Rules of Criminal
     Procedure, and has entered a plea of guilty as to count one of the indictment. After cautioning and
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     examining the defendant under oath and in open court, concerning each of the subject matters mentioned
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     in Rule 11, as described in the preceding sections, I find that defendant is competent to enter this guilty
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     plea, is aware of the nature of the offense charged and the maximum statutory penalties that the same
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     carries, understands that the charge is supported by the government’s evidence, has admitted to every
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     element of the offense charged, and has done so in an intelligent and voluntary manner with full knowledge
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     of the consequences of his guilty plea. Therefore, I recommend that the court accept the guilty plea of the
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     defendant and that the defendant be adjudged guilty as to count one of the indictment.
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              This report and recommendation is filed pursuant to 28 U.S.C. § 636(b)(1)(B). Any objections to
19
     the same must be specific and must be filed with the Clerk of Court within fourteen (14) days of its receipt.
20
     Fed. R. Civ. P. 72(b). Failure to timely file specific objections to the report and recommendation is a
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     waiver of the right to review by the district court. United States v. Valencia-Copete, 792 F.2d 4 (1st Cir.
22   1986).
23            SO RECOMMENDED.
24            At San Juan, Puerto Rico, this 20th day of November, 2013.
25
                                                                      s/Marcos E. López
26                                                                    U.S. Magistrate Judge
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